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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

TELEBRANDS CORP.,                             )
                                              )
               Plaintiff,                     )
                                              )
       v.                                     )       Civil Action No. 17-997-JFB-SRF
                                              )
lBYONE PRODUCTS INC.,                         )
                                              )
                                              )
               Defendant.                     )


                                   MEMORANDUM ORDER

       At Wilmington this 21st day of November, 2017, the court having considered the

parties' briefing on defendant 1ByOne Products Inc.' s (" 1ByOne") motion to dismiss for failure

to state a claim pursuant to Federal Rule of Civil Procedure 12(b)(6) (D.I. 9; D.I. 10; D.I. 11; D.I.

13; D.I. 15), IT IS HEREBY ORDERED THAT the motion to dismiss (D.I. 9) is denied as moot

for the reasons set forth below.

       1. Background. Plaintiff Telebrands Corp. ("Telebrands") filed this action for patent

infringement on July 21, 2017, alleging infringement of U.S. Patent Nos. 9,546,775 ("the '775

patent") and 9,562,673 ("the '673 patent") (together, the "patents-in-suit"). (D.I. 1) Telebrands

is a direct marketing company which markets and sells a variety of consumer products through

direct response advertising and national retail stores. (Id   at~   7) Telebrands developed a line of

decorative lighting products marketed and sold under the trademark Star Shower®, which it

introduced during the 2015-2016 holiday season. (Id     at~   8) Telebrands subsequently

introduced the Star Shower Motion™ product, which introduced the ability to move the points of

light in patterns, and the Star Shower Patriot™ product, which introduced new colored lights.
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(Id) The paten~s-in-suit are assigned to Telebrands and cover Telebrands' Star Shower®

technology. (Id at ifif 11-14)

        2. Telebrands accuses lByOne of making, using selling, offering for sale, and/or

importing into the United States infringing decorative lighting products under the brand Garden

Laser Light Motion and titled "lByOne Outdoor Laser Lights for Christmas" and/or "lByOne

Magical Laser Light with Green Christmas and Red Star Patterns" (the "Accused Product"). (Id

at if 15) Specifically, Telebrands alleges that the Accused Product infringes claim 1 of the '775

patent because it includes a first laser light source which generates first light, a second laser light

source which generates a second light, and a motion assembly which includes an articulating

optical element disposed in the path of the light generated by the first and second laser light

sources and a motor. (Id at if 16) Telebrands contends that the Accused Product infringes claim

1 of the '673 patent because it includes a first housing coupled with screws to a second housing

to form a recess designed to receive and hold a tube-shaped geared member in a substantially

fixed position. (Id at if 17)

       3. lByOne filed the pending motion to dismiss on August 15, 2017. (D.I. 9) On

November 17, 2017, while its motion to dismiss was still pending before the court, lByOne filed

an answer, affirmative defenses, and counterclaims. (D.I. 16) By way of its counterclaims,

lByOne seeks declaratory reliefregarding the invalidity and non-infringement of the patents-in-

suit as well as U.S. Patent No. 9,752,761 ("the '761 patent"), which issued on September 5,

2017. (Id at if 19)

       4. On May 11, 2017, Telebrands filed a lawsuit against lByOne in the United States

District Court for the District of New Jersey ("the New Jersey Action") alleging that the Accused

Product infringes the '775 patent and the '673 patent. (Id at if 20) lByOne responded to the
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complaint by filing a motion to dismiss for improper venue pursuant to Federal Rule of Civil

Procedure 12(b)(3 ), and a motion to dismiss for failure to satisfy the "plausibility" pleading

requirement under Federal Rule of Civil Procedure 12(b)(6). (D.I. 10 at 1) On July 21, 2017,

Telebrands agreed to voluntarily dismiss the New Jersey Action without prejudice. 1 (D.I. 11, Ex.

2) The court dismissed the New Jersey Action on July 25, 2017. (D.I. 11, Ex. 3)

        5. Legal Standard. Rule 12(b)(6) permits a party to move to dismiss a complaint for

failure to state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). When

considering a Rule 12(b)(6) motion to dismiss, the court must accept as true all factual

allegations in the complaint and view them in the light most favorable to the plaintiff. Umland v.

Planco Fin. Servs., 542 F.3d 59, 64 (3d Cir. 2008). To state a claim upon which relief can b~

granted pursuant to Rule 12(b)(6), a complaint must contain a "short and plain statement of the

claim showing that the pleader is entitled to relief." Fed. R. Civ. P. 8(a)(2). Although detailed

factual allegations are not required, the complaint must set forth sufficient factual matter,

accepted as true, to "state a claim to relief that is plausible on its face." Bell Atl. Corp. v.


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  Generally, a district court ruling on a motion to dismiss cannot consider matters outside of the
pleadings. In re Burlington Coat Factory Sec. Litig., 114 F .3d 1410, 1426 (3d-Cir. 1997).
However, courts may consider documents that are "incorporated into the complaint by reference,
and matters of which a court may take judicial notice." Tellabs, Inc. v. Makor Issues & Rights,
Ltd, 551 U.S. 308, 322 (2007). The court may take judicial notice of a fact "that is not subject to
reasonable dispute because it (1) is generally known within the trial court's territorial
jurisdiction; or (2) can be accurately and readily determined from sources whose accuracy cannot
reasonably be questioned." Fed. R. Evid. 201(b). In accordance with this authority, a court may
take judicial notice of public records. City ofPittsburgh v. W. Penn Power Co., 147 F.3d 256,
259 (3d Cir. 1998). Consequently, this court may take judicial notice of publicly-available
documents filed in the New Jer~ey Action, submitted by lByOne. (D.I. 11, Exs. 1-3) Exhibit 4
is a copy of the complaint filed in the present action, and the court's permission is not required
for consideration of the pleading. Exhibit 5 contains email correspondence between the parties,
which was not incorporated into the complaint by reference and is not a public record. (D.I. 11,
Ex. 5) As such, the court denies 1ByOne' s request for consideration of Exhibit 5 at this stage of
the proceedings.
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Twombly, 550 U.S. 544, 570 (2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009). A

claim is facially plausible when the factual allegations allow the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged. Iqbal, 556 U.S. at 663;

Twombly, 550 U.S. at 555-56.

       6. Analysis. In view of the subsequent filing of its answer, affirmative defenses, and

counterclaims, lByOne's pending motion to dismiss is denied as moot. "A defendant is not

required to file an answer until [the] court disposes of the motion to dismiss." Smith v. Bank of

Am., NA., 2014 WL 897032, at *9 (M.D. Fla. Mar. 6, 2014) (citing Lockwoodv. Beasley, 211 F.

App'x 873, 876 (11th Cir. 2006)). When an answer is filed prior to the resolution of a motion to

dismiss, the motion to dismiss becomes moot. See Veltre v. Sliders Seas.ide Grill, Inc., 2016 WL

524658, at *1 (M.D. Fla. Feb. 10, 2016) (dismissing as moot a motion to dismiss when the

defendant filed an answer while a Report and Recommendation on the motion to dismiss was

pending). "A motion to dismiss challenges the sufficiency of the allegations within the

complaint; an answer admits or denies those allegations and raises any available affirmative

defenses." Briskv. City ofMiami Beach, Fla., 709 F. Supp. 1146, 1147 (S.D. Fla. 1989).

       7. A Rule 12 motion is a response filed in lieu of an answer. In this instance, the motion

asserts pleading deficiencies, namely, that substantive details are lacking to show how the

Accused Product allegedly infringes the recited claims of the patents-in-suit. The very act of

answering the complaint defeats the argument that the complaint is too thin to provide adequate

notice of the claims and permit the defendant to respond in a meaningful way. Consequently,

1ByOne' s motion to dismiss is denied as moot.

       8. Conclusion. In view of the foregoing analysis, lByOne's motion to dismiss (D.I. 9)

is denied as moot.
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       9. This Memorandum Order is filed pursuant to 28 U.S.C. § 636(b)(l)(A), Fed. R. Civ.

P. 72(a), and D. Del. LR 72.l(a)(2). The parties may serve and file specific written objections

within fourteen (14) days after being served with a copy of this Memorandum Order. Fed. R.

Civ. P. 72(a). The objections and responses to the objections are limited to ten (10) pages each.

       10. The parties are directed to the court's Standing Order For Objections Filed Under

Fed. R. Civ. P. 72, dated October 9, 2013, a copy of which is available on the court's website,

www.ded.uscourts.gov.




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